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                          **NOT FOR PRINTED PUBLICATION**

                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

SECURITIES AND EXCHANGE                           §
COMMISSION,                                       §
                                                  §
       Plaintiff,                                 §
                                                  §
v.                                                §    Civil Action No. 4:11-cv-655
                                                  §
JAMES G. TEMME and                                §
STEWARDSHIP FUND, LP,                             §
                                                  §
       Defendants.                                §

 ORDER GRANTING RECEIVER’S FOURTH INTERIM APPLICATION TO ALLOW
AND PAY (1) RECEIVER’S FEES AND EXPENSES; AND (2) ATTORNEYS’ FEES AND
                              EXPENSES

       Before the court is the Receiver’s Fourth Interim Application to Allow and Pay (1)

Receiver’s Fees and Expenses; and (2) Attorneys’ Fees and Expenses (the “Application”) [Doc.

#344], which requests reimbursement for fees incurred for the time period from June 1, 2013,

through December 31, 2013. The Receiver seeks to pay Bryan Cave LLP (“BC”) $219,174.81,

representing $204,770.00 in interim fees (80% of $255,962.50 in fees) and $14,404.81 in interim

expenses (100% of $14,404.81 in expenses).

       No opposition has been filed to this Application. Counsel for the Commission has

reviewed the fee application and been afforded the opportunity to object, but does not object to

the relief sought. Based upon a review of the Application and the pleadings on file, the court

finds and concludes that (a) the relief requested in the Application is in the best interests of the

Receiver and his receivership estates; (b) proper and adequate notice of the Application has been

given and that no other or further notice is necessary; and (c) good and sufficient cause exists for


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the granting of the relief requested in the Application after having given due deliberation upon

the Application and all of the proceedings had before the court in connection with the

Application. Therefore, it is hereby ORDERED that:

        i.     The Application is GRANTED.

       ii.     The court approves, on an interim basis, the fees ($204,770.00) and expenses

($14,404.81) incurred by the Receiver from June 1, 2013, through December 31, 2013.

       iii.    The Receiver is authorized to immediately pay BC the total sum of $219,174.81,

               representing $204,770.00 in interim fees (80% of $255,962.50 in fees) and

               $14,404.81 in interim expenses (100% of $14,404.81 in expenses) for the time

               period from June 1, 2013, through December 31, 2013.


                 So ORDERED and SIGNED this 9 day of July, 2014.




                                                               ___________________________________
                                                               Ron Clark, United States District Judge




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